 Case 2:93-cv-06573-AWT-EE Document 12 Filed 11/08/93 Page 1 of 3 Page ID #:2



 1 DOWNEY, BRAND, SEYMOUR & ROHWER

 2 i~ Steven P. Saxton (State Bar No.
   I Robert C. Bylsma (State Bar No. 1~~8'88~j,
                                                  ~~6943, _
      Stephen J. Meyer (State Bar No. ~'~~32~) ~ ~? ~E~ ~~,~
                                                                     Q RIG 1 N A L
 3 I, 555 Capitol Mall, 10th Floor      - ~ ~ -''
   ~ Sacramento, California 95814-4686- . -       -
  y
   I QUINN EMANUEL URQUHART & OLIVER
 5 Gory A. Feess (State Bar No. 61093)
     Dou:;las A. Kuber (State Bar No. 130165)
 6 655 Sauth Hope Street, 16th Floor                  cyTE~F~
     Los Angeles, California 90017-3211     CLEs~N.~lJ.v.[?i::~~i'RICTCOURT
 7 (213) 622-7707                                -_     --- - --~

 8 Attorneys fcr State of California,          ~~V ~     ~~g~
   Department of Conservation, Division of                   ~_,_,
 9 Recycling                            CENTRALDISi~=! ~~ CG.~irO~N
                                        ~Y                     6EPU
10

11                                  UNITED STATES DISTRICT COURT

      i                             CENTRAL DISTRICT OF CALIFORNIA



          STATE OF CALIFORNIA, DEPARTMENT i)F)          Case No. CV 93-6573-AWT(EEx)
          CONSERVATION, DIVISION OF          j
          RECYCLING, by and through EDWARD )
          HEIDIG, Director of Conservation, )           NOTICE OF VOLUNTARY DISMISSAL
~6
:~
:                                    Plaintiff,    )
Y~
               v.
;38
    MICHAEL BAKER, RONALD STEIN and                )
19 UNISOURCE METALS TRADING
    CORPORATION,
20~
                        Defendants.                )
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                                                                     y   ~Q.~ ~~
              ~~~ a ~~.Jt~ce P~~s
          ~~s-~                                   NUV   z ~s~3
 Case 2:93-cv-06573-AWT-EE Document 12 Filed 11/08/93 Page 2 of 3 Page ID #:3




 1              NOTICE IS HEREBY GIVEN that pursuant to Fed. Rule Civ. P.

 2 41(a), plaintiff voluntarily dismisses the above-captioned action

 3 without prejudice.

 4

 5 ' DATED:   November 8, 1993

 6                                    DOWNEY, BRAND, SEYMOUR & ROHWER

 7                                    QUINN EMANUE~, URQUHAR'T,~ & OLIVER

 8i

 9                                    By
                                           Douglas    Ku er
10                                         Attorney for State of California
                                           Department of Conservation,
11                                         Division of Recycling

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13 4011005

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        Case 2:93-cv-06573-AWT-EE Document 12 Filed 11/08/93 Page 3 of 3 Page ID #:4
                                                                      VERIFICATION
      STATE OF CALIFORNIA, COUNTY OF
         I have read the foregoing
                                                                                                   and know its contents.
                                          CHECK APPLICABLE PARAGRAPH
      I am a party to this action. The matters stated in the foregoing document are true of my own knowledge except as to
  those matters which are stated on information and belief, and as to those matters I believe them to be true.
❑     I am ❑ an Officer ❑ a partner                       O a                             of

  a party to this action, and am authorized to make this verification for and on its behalf, and I make this verification for that
  reason. ❑ I am informed and believe and on that ground allege that the matters stated in the foregoing document are
  true. ❑The matters stated in the foregoing document are true of my own knowledge except as to those matters which are
  stated on information and belief, and as to those matters I believe them to be true.
❑      I am one of the attorneys for                                                                                             ,
  a party to this action. Such party is absent from the county of aforesaid where such attorneys have their offices, and I make
  this verification for and on behalf of that party for that reason. I am informed and believe and on that ground allege that
  the matters stated in the foregoing document are true.
  Executed on                                     19         at                                                     ,California.
  I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.




                            Type or Print Name                                                                                       Signature
                                                                PROOF OF SERVICE
                                                                     1013A (3) CCP Revised 5/1/88


     STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
        I am employed in the county of                        Los AnQe le s                  State of California.
     I~ort~ t~e alge~yf 18 a~d Ct~a p~y~tQ the within action; my business address is: 54 31~ Cleon Avenue ,
                O     WOO ~            uL U
        on November       8 19 ~3 , I served the foregoing document
                                                                    described as NOTICE OF VOLUNTARY
      DISMISSAL


                                                         on interested parties                                in this action
     by placing the true copies thereof enclosed in sealed envelopes addressed as stated on the attached mailing list:
     by placing ❑the original ~E] a true copy thereof enclosed in sealed envelopes addressed as follows:
      Kay E. Tucker                                               Dennis Kinna.ird, Esq.
      Michael C. Baum                                             MUNGER,       TOLES & OLSON
      TUCKER & BAUM                                               355    S.   Grand      Avenue
      228 S. Beverly Drive                                        Los    Angeles,        CA    90071
      Beverly Hills, CA                90212-3880

❑ BY MAIL
        ❑ •I deposited such envelope in the mail at                                                                 ,California.
       The envelope was mailed with postage thereon fully prepaid.
        ❑ As follows : I am "readily familiar" with the firm's practice of collection and processing correspondence for mailing.
   Under that practice it would be deposited with U.S. postal service on that same day with postage thereon fully prepaid at
                                           California in the ordinary course of business. I am aware that on motion of the
   party served, service is presumed invalid if postal cancellation date or postage meter date is more than one day after date
                                                                                                                               of
   deposit for mailing in affidavit.
   Executed on                                                     19    , at                                       ,California.
       •*(BY PERSONAL SERVICE) I delivered such envelope by hand to the offices of the addressee.
   Executed on                 November 8                      lq 93 ~ at        LoS An ae les                      ,California.
R (State)      I declare under penalty of perjury under the laws of the State of California that the above is true and correct.
  (Federal) I declare that I am employed in the office of a member of the bar of this court at whose direction the service
                                                                                                                             was
               made.
      Chat Tanpatanatanakorn

                          Type or Print Name                                                                                        Signature
    STUART'S EXBROOK TIMESAVER (REVISED 5/1 /88)
                                                                                                          '
                                                                                                          (BY MAIL SIGNATURE MUST BE OF PERSON DEPOSITING ENVELOPE IN
    NEW DISCOVERY LAW 2030 AND 2031 C.C.P.
                                                                                                           MAIL SLOT. BOX, OA BAG)
    (May Oe usetl in California Slete or Federal Courts)
                                                                                                           "(FOR PERSONAL SERVICE SIGNATUFE MUST BE THAT OF MESSENGER)

    IN SAN DIEGO COUNTY LOCAL RULE 6.7 REQUIRES "ALL PROOFS OF SERVICE FILED WITH
                                                                                   THE COURT AS OF JULY 1, 1990" MUST SPECIFY THE NAME OF THE PAFTY SERVED. THE NATURE AND
    STATUS OF HIS/HER INVOLVEMENT IN THE CASE. I.E. PLAINTIFF, DEFENDANT, CROSS COMPUINANT, ETC.,
                                                                                                  AND THE NAME, ADDRESS AND PHONE NUMBER OF HIS/HER COUNSEL OF RECORD.
